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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA,

                        Plaintiff,                                    8:24CV160

        vs.
                                                             WARRANT FOR ARREST
 $4,698,514.00 in United States Currency, et                      IN REM
 al.,

                        Defendants.


TO:    U.S. CUSTOMS AND BORDER PROTECTION AND/OR ANY OTHER DULY
       AUTHORIZED LAW ENFORCEMENT OFFICER

       WHEREAS, on May 3, 2024, the United States of America filed a Complaint for Forfeiture

in Rem for civil forfeiture in the United States District Court for the District of Nebraska against

the Defendant properties, alleging said properties are subject to seizure and civil forfeiture to the

United States for the reasons mentioned in the Complaint; and

       WHEREAS, the Defendant properties are currently in the possession, custody or control

of the United States and the U.S. Customs and Border Protection; and

       WHEREAS, under such circumstances, pursuant to Rule G(3)(b)(i), Supplemental Rules

for Admiralty or Maritime Claims and Asset Forfeiture Actions, the Clerk of the Court shall issue

an arrest Warrant in rem for the arrest of the Defendant properties; and

       WHEREAS, Supplemental Rule G(3)(c) provides the Warrant of arrest in rem must be

delivered to a person or organization authorized to execute it.

       NOW, THEREFORE, you are hereby commanded to arrest the above-named Defendant

properties by serving a copy of this Warrant on the custodian in whose possession, custody or
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control the property is presently found, and to use whatever means may be appropriate to protect

and maintain it in your custody until further order of this Court.

       YOU ARE FURTHER COMMANDED, promptly after execution of this process, to file

the same in this Court with your return thereon, identifying the individuals upon whom copies

were served and the manner employed.

Dated: May 3, 2024.


                                                      Clerk of the Court
                                                      United States District Court for the
                                                      District of Nebraska


                                              By:
                                                      Deputy Clerk




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